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                          EXHIBIT C
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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN

      MICHAEL BOWMAN, individually
      and on behalf of all others similarly       Case No. 17-cv-11630-NGE
      situated,
                                                  Hon. Nancy G. Edmunds
                              Plaintiff,
      v.                                          Mag. R. Steven Whalen

      ART VAN FURNITURE, INC., a
      Michigan corporation,

                              Defendant.


                 [PROPOSED] ORDER GRANTING PRELIMINARY
                  APPROVAL OF CLASS ACTION SETTLEMENT

           WHEREAS, an alleged class action is pending before the Court entitled

  Bowman v. Art Van Furniture, Inc., Case No. 2:17-cv-11630-NGE-RSW; and

           WHEREAS, Plaintiff Michael Bowman (“Plaintiff” or “Bowman”) and

  Defendant Art Van Furniture, Inc. (“Defendant” or “Art Van”)1 have entered into a

  Settlement Agreement, which, together with the exhibits attached thereto, sets forth

  the terms and conditions for a proposed settlement and dismissal of this Action

  with prejudice for the claims of the Settlement Class upon the terms and conditions

  as set forth in the Settlement Agreement; and




  1
   The Parties advise that Art Van Furniture, Inc. has converted to Art Van
  Furniture, LLC, a Delaware limited liability company.
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        WHEREAS, the Court has read and considered the Settlement Agreement

  and exhibits attached thereto, this matter coming before the Court upon the

  agreement of the Parties, good cause being shown, and the Court being fully

  advised in the premises.

  IT IS HEREBY ORDERED, DECREED, AND ADJUDGED AS FOLLOWS:

        1.      The terms and phrases in this Order shall have the same meaning as

  ascribed to them in the Parties’ Settlement Agreement.

        2.      Plaintiff moved the Court for an order approving the settlement of the

  Action in accordance with the Settlement Agreement, which, together with the

  documents incorporated therein, sets forth the terms and conditions for a proposed

  settlement and dismissal of the Action with prejudice against Art Van, and the

  Court having read and considered the Settlement Agreement and being fully

  advised in the premises, hereby preliminarily approves the Settlement Agreement

  in its entirety subject to the Final Approval Hearing referred to in Paragraph 15 of

  this Order.

        3.      This Court finds that it has jurisdiction over the subject matter of this

  action and over all Parties to the Action, including all members of the Class

  (“Settlement Class Members”), which the Court hereby certifies solely for the

  purposes of the Settlement Agreement, and which is defined as follows:



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        All individuals and entities who were called by or on behalf of Art Van
        Furniture through the use of pre-recorded voice technology between
        May 23, 2013 and the date of entry of the Preliminary Approval Order.

        4.     The Court finds that, subject to the Final Approval Hearing, the

  Settlement Agreement is fair, reasonable, adequate, and in the best interests of the

  Class Members as to their claims against Art Van. The Court further finds that the

  Settlement Agreement substantially fulfills the purpose and objectives of the class

  action against Art Van and provides beneficial relief to the Class.

        5.     The Court preliminarily appoints Michael Bowman as the settlement

  Class Representative and Steven Woodrow, Patrick Peluso, and Taylor Smith of

  Woodrow & Peluso, LLC and Stefan Coleman from the Law Office of Stefan

  Coleman, P.A. as Settlement Class Counsel.

        6.     The Court also finds that the Settlement Agreement (a) is the result of

  arms’ length negotiations involving experienced class action attorneys and

  overseen by an experienced third-party mediator; (b) is sufficient to warrant notice

  of the settlement and the Final Approval hearing to the Class; (c) meets all

  applicable requirements of law, including Federal Rule of Civil Procedure 23, and

  the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1715; and (d) is not a

  finding or admission of liability by Art Van.

                              Notice and Administration

        7.     Pursuant to the Settlement Agreement, Epiq Systems

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  (https://www.epiqglobal.com/en-us/home) is hereby appointed as Settlement

  Administrator and shall be required to perform all the duties of the Settlement

  Administrator as set forth in the Agreement and this Order.

        8.     The Court finds that the Notice Plan and all forms of Notice to the

  Class as set forth in the Settlement Agreement and the Exhibits thereto is also

  approved as its form, method, and content, complies with the requirements of Rule

  23 and due process, and constitutes the best notice practicable under the

  circumstances. The Court further finds that the Notice is reasonably calculated to,

  under all circumstances, apprise the members of the Class of the pendency of this

  action, the certification of the Class, the terms of the Settlement Agreement, and

  the right of members to object to the settlement and to exclude themselves from the

  Class. The Parties, by agreement, may revise the Notice in ways that are not

  material, or in ways that are appropriate to update those documents for purposes of

  accuracy or formatting.

        9.     The Settlement Administrator shall implement the Notice Plan as set

  forth in the Settlement Agreement.

        10.    Art Van, or the Settlement Administrator acting on its behalf, shall

  also cause the requirements of 28 U.S.C. § 1715 to be satisfied through service of

  notice of the proposed Settlement upon the Attorneys General of each U.S. State

  and the Attorney General of the United States.

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                                        Exclusion

        11.    Settlement Class Members who wish to exclude themselves from the

  Class for purposes of this Settlement may do so by complying with the Opt-Out

  procedures set forth below. Any member of the Class who timely requests

  exclusion consistent with those procedures shall not be bound by the terms of the

  Settlement Agreement.

        12.    To exercise the right to Opt-Out, the Class Member must complete,

  sign, and mail to the Settlement Administrator a request for exclusion, on or before

  ________, 2018. The request for exclusion must comply with the exclusion

  procedures set forth in the Settlement Agreement and Notice. An Opt-Out request

  must include: (a) the requester’s full name, address, name of the Action, and

  telephone number; (b) the telephone number at which the requester allegedly

  received a pre-recorded voice call that is the subject of this Settlement Agreement;

  (c) contain the requester’s personal and original signature, or the original signature

  of a person previously authorized by law, such as a trustee, guardian or person

  acting under a power of attorney, to act on behalf of the requester with respect to a

  claim or right such as those in the Action; and (d) state unequivocally that the

  requester desires to be excluded from the Settlement Class, to be excluded from the

  Settlement, not to participate in the Settlement, and/or to waive all rights to the

  benefits of the Settlement. A request for exclusion may not request exclusion of

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  more than one member of the Class.

        13.     Class Members who submit complete Opt-Outs that are postmarked

  before the Opt-Out Deadline set forth in paragraph 11 above shall receive no

  benefit or compensation under this Settlement Agreement, shall have no right to

  object to the proposed Settlement Agreement or participate at the Final Approval

  Hearing, and shall not be bound by any order or judgment entered in this Action.

                                      Objections

        14.     Any Settlement Class Member may comment in support of, or in

  opposition to, the Settlement at his or her own expense; provided, however, all

  comments and/or objections must be in writing and mailed or hand-delivered to the

  Clerk of the Court and the Settlement Administrator and postmarked or delivered

  by no later than the Objection Deadline, which shall be the same date as the Opt-

  Out Deadline set forth in paragraph 11 above. Objections may be filed by counsel

  for a Settlement Class Member though any such counsel must file an appearance in

  the Action.

        15.     To object, a Class member must sign and file a written objection no

  later than the Objection Deadline set forth in the Settlement Agreement. Each

  Objection must: (i) set forth the Settlement Class Member’s full name, current

  address, and telephone number; (ii) identify the telephone number of the

  Settlement Class Member at which the Settlement Class Member claims phone

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  calls subject to the Settlement were received; (iii) contain the Settlement Class

  Member’s original signature or the signature of counsel for the Settlement Class

  Member; (iv) state that the Settlement Class Member objects to the Settlement, in

  whole or in part; (v) set forth the complete legal and factual bases for the objection,

  including citations to relevant authorizes; (vi) provide copies of any documents

  that the Settlement Class Member wishes to submit in support of his/her position;

  and (vii) state whether the objecting Settlement Class Member intends on

  appearing at the Final Approval Hearing either pro se or through counsel and

  whether the objecting Settlement Class Member plans on offering testimony at the

  Final Approval Hearing. All Objections must be mailed or hand-delivered to the

  Court before the Objection Deadline.

                                Final Approval Hearing

        16.    The Final Approval Hearing shall be held before this Court on

  __________, 2018 at __:__ _.M. at the Theodore Levin U.S. Courthouse,

  Courtroom 851, 231 W. Lafayette Blvd., Detroit, Michigan 48226, to determine

  whether the proposed Settlement Agreement with Art Van is fair, reasonable, and

  adequate and should be given final approval by the Court. The Court may adjourn

  the Final Approval Hearing or conduct it by telephone without further notice to

  Class Members.

                                    Further Matters

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        17.    To protect its jurisdiction to consider the fairness of this Settlement

  Agreement and to enter a Final Order and Judgment having binding effect on all

  Settlement Class Members, the Court hereby enjoins all Settlement Class

  Members, and anyone who acts or purports to act on their behalf, from pursuing all

  other proceedings in any state or federal court that seeks to address any parties’ or

  Settlement Class Members’ rights or claims relating to, or arising out of, any of the

  Released Claims as set forth in the Settlement Agreement.

        18.    Settlement Class Members shall be bound by all determinations and

  judgments in the Action concerning the Action and/or Settlement Agreement,

  whether favorable or unfavorable.

        19.    In the event that the Settlement Agreement is terminated pursuant to

  the provisions of the Settlement Agreement, then the Settlement Agreement shall

  be of no force and effect and the Parties’ rights and defenses shall be restored,

  without prejudice, to their respective positions as if this Settlement Agreement had

  never been executed, any orders entered by the Court in connection with this

  Agreement shall be vacated, and this Settlement Agreement shall not be used for

  any purpose whatsoever against any of the Parties. However, any payments made

  to the Settlement Administrator for services rendered to the date of termination

  shall not be refunded to Art Van.

        20.    Class Counsel shall move for an award of reasonable attorneys' fees to

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  be paid as set forth in the Settlement Agreement and cause such motion to be

  posted on the Settlement Website no later than ________, 2018.

        21.   Class Counsel shall move for Final Approval of the Settlement

  Agreement and respond to any objections no later than fourteen (14) days prior to

  the Final Approval Hearing.

  IT IS SO ORDERED.

  Dated this ______ day of              , 2018



                                        HONORABLE NANCY G. EDMUNDS
                                        UNITED STATES DISTRICT JUDGE




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